          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                    CRIMINAL CASE NO. 3:06cr415


UNITED STATES OF AMERICA, )
                          )
             Plaintiff,   )
                          )
             vs.          )            ORDER
                          )
                          )
PAUL OSUJI and            )
TAMARA VARNADO,           )
                          )
             Defendants.  )
                          )

     THIS MATTER is before the Court on the Defendant’s Motion for

Pre-Trial Production of Brady and Impeachment Evidence Related to

Government Witnesses “Prince Yellowe” and Linda Morgan [Doc. 44];

Defendant’s Motion in Limine to Preclude Propensity Evidence and Co-

Conspirator Statements That Were Not In Furtherance of the Charged

Conspiracy [Doc. 49]; the Government’s Motion to Permit the Use of

Leading Questions During Direct Examination of Witnesses Identified With

Defendant [Doc. 62]; and the Government’s Motion for Reciprocal

Discovery and Production of Defense Witness Statements [Doc. 75].




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I.    Motion for Brady and Impeachment Materials

      Defendant Varnado moves the Court for an Order directing the

Government to produce pretrial any Brady or impeachment evidence

related to government witnesses “Prince Yellowe” and Linda Morgan. [Doc.

44]. The Government opposes the Defendant’s motion. [Doc. 45].

      The materials that the Defendant requests – the pretrial production of

Brady materials and impeachment evidence – has already been made

available to her pursuant to the Court’s Standard Criminal Discovery Order

[Doc. 22] and the Government’s Open File Policy. Under such a policy,

“the government agree[s] to turn over essentially all of its documents to the

defendants in return for the comfort of knowing that neither Brady nor

Giglio [will] be relevant throughout the protracted proceedings.” United

States v. Derrick, 163 F.3d 799, 812 (4th Cir. 1998), cert. denied, 526 U.S.

1133 (1999). Accordingly, the Defendant’s request for pretrial disclosure of

these materials is moot.

       Defendant appears to argue that the Government is required to

identify for the Defendant the specific materials in its file that constitute

Brady and Giglio materials. The Court is not aware of any such obligation

on the part of the Government when a file is produced pursuant to an Open


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File Policy, and the Defendant has not cited to any authority which places

such an obligation on the Government. Indeed, the Fourth Circuit has

declined to find a Brady violation where the exculpatory information was

produced in the government’s open file and thus “readily available” to the

defendant. See United States v. Williams, 133 F.3d 920, 1998 WL 13535,

at *4 (4th Cir. Jan. 15, 1998), cert. denied, 523 U.S. 1100 (1998) (“Here,

the information was contained in the Government’s open file and the tapes

were readily available to the defense team. It would have been time-

consuming, but not unreasonable, for counsel to scour the fruits of the

Government’s surveillance for evidence that either tended to implicate or

exculpate his client.”).

      For these reasons, IT IS, THEREFORE, ORDERED that the

Defendant’s Motion for Pre-Trial Production of Brady and Impeachment

Evidence Related to Government Witnesses “Prince Yellowe” and Linda

Morgan [Doc. 44] is DENIED.




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II.   DEFENDANT’S MOTION IN LIMINE

      Defendant Varnado moves the Court for an Order preventing the

Government from introducing the following evidence:

      (1) evidence, including statements of co-conspirators, related to
      Varnado’s propensity in general to engage in fraudulent
      conduct or acts;

      (2) evidence outside the scope of the instant indictment related
      to the establishment of a company known as Nova Medical
      Supply, and/or any other durable equipment medical supply
      company not identified or charged in the instant indictment; and

      (3) prejudicial and extrinsic evidence of purported bad acts or
      fraudulent conduct related to Medicare fraud occurring on any
      date not alleged in the indictment.

Defendant argues that such evidence is not admissible under Fed. R. Evid.

404(b); is not relevant under Fed. R. Evid. 402; and is overly prejudicial

under Fed. R. Evid. 403.

      The Defendant’s request for the exclusion of such evidence is

premature. Accordingly, the Court finds that a ruling on the Defendant’s

motion at this time would require speculation on the nature of the evidence

to be produced as well as the reason for its production. For these reasons,

the Court’s finds the Defendant’s request to exclude such evidence to be

premature at this time.



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       Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

Motion in Limine to Preclude Propensity Evidence and Co-Conspirator

Statements That Were Not In Furtherance of the Charged Conspiracy

[Doc. 49] is DENIED WITHOUT PREJUDICE.



III.   MOTION TO PERMIT LEADING QUESTIONS

       The Government moves the Court pursuant to Rule 611(c) of the

Federal Rules of Evidence for an Order permitting the use of leading

questions during the direct examination of Mary Fleming, Nynechia Afriyie,

and Linda Morgan, witnesses who may be called during the Government’s

case-in-chief during the trial of this matter. [Doc. 62].

       Rule 611 provides, in pertinent part, as follows:

       Leading questions should not be used on the direct
       examination of a witness except as may be necessary to
       develop the witness’ testimony. Ordinarily leading questions
       should be permitted on cross-examination. When a party calls
       a hostile witness, an adverse party, or a witness identified with
       an adverse party, interrogation may be by leading questions.

Fed. R. Evid. 611(c).

       The Government contends that Ms. Fleming, who is Defendant

Varnado’s mother, and Ms. Afriyie, who is Defendant Varnado’s sister,

each have a “close personal relationship” with the Defendant, thereby

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making it likely that both witnesses will be reluctant to be completely

forthcoming during their testimony. The Government further contends that

Ms. Morgan has apparently indicated to Defendant Varnado’s counsel that

she will not cooperate with the Government in this case, and further, that

Ms. Morgan has a “personal relationship” with Varnado which is likely to

color her willingness to testify.

      The Court finds that the Government’s motion is premature at this

time. Accordingly, IT IS, THEREFORE, ORDERED that the Government’s

Motion to Permit the Use of Leading Questions During Direct Examination

of Witnesses Identified With Defendant [Doc. 62] is DENIED WITHOUT

PREJUDICE with leave to re-file the same at trial if and when any of these

witnesses are called to testify and the proper foundation is laid establishing

that the witness can be properly “identified with an adverse party” under

Rule 611(c).



IV.   MOTION FOR RECIPROCAL DISCOVERY

      The Government moves the Court for an Order requiring the

Defendants to provide reciprocal discovery pursuant to Rule 16(b) of the

Federal Rules of Criminal Procedure. Additionally, the Government


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requests an Order requiring the Defendants to produce all statements of

anticipated defenses witnesses, pursuant to Rule 26.2 of the Federal Rules

of Criminal Procedure.

      Defendant Varnado opposes both of the Government’s requests,

arguing (1) that the Government is engaging in an impermissible “fishing

expedition” into the defense files and work product; (2) that the

Government has not yet fully complied with its own discovery obligations

under Rule 16; and (3) that the Government’s motion is premature in that

the defense has not yet decided which witnesses the defense may call or

which documents the defense may seek to admit into evidence.

A.    Reciprocal Discovery

      Rule 16(b) of the Federal Rules of Criminal Procedure provides, in

pertinent part, as follows:

            (1)(A) If a defendant requests disclosure under Rule
            16(a)(1)(E) and the Government complies, then the
            defendant must permit the government to inspect
            and to copy or photograph books, papers,
            documents, data, photographs, tangible objects,
            buildings or places, or copies or portions of any of
            these items if:

                  (i) the item is within the defendant’s
                  possession, custody, or control; and



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                   (ii) the defendant intends to use the item
                   in the defendant’s case-in-chief at trial.

Fed. R. Crim. P. 16(b)(1). Additionally, Rule 16(b) requires a defendant to

produce all reports of examinations or tests, Fed. R. Crim. P. 16(b)(1)(B),

and summaries of the anticipated testimony of any expert witnesses a

defendant intends to call during the trial, Fed. R. Crim. P. 16(b)(1)(C).

      Rule 16(b) also specifically exempts certain information from

disclosure:

              Except for scientific or medical reports, Rule
              16(b)(1) does not authorize discovery or inspection
              of:

              (A) reports, memoranda, or other documents made
              by the defendant, or the defendant’s attorney or
              agent, during the case’s investigation or defense; or

              (B) a statement made to the defendant, or the
              defendant’s attorney or agent, by:

                   (i) the defendant;

                   (ii) a government or defense witness; or

                   (iii) a prospective government or defendant
                   witness.

Fed. R. Crim. P. 16(b)(2).

      Paragraph 20 of this Court’s Standard Criminal Discovery Order

[Docs. 14, 22] specifically requires the production of reciprocal discovery

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“[a]t such time as the government provides defense counsel with discovery

under Rule 16(a)(1)(C) or (D) . . . .” The Government contends that,

despite having made its entire investigative file available to the Defendants

and having made a number of informal requests for reciprocal discovery,

no such discovery has been produced to date.

     Defendant Varnado contends that the Government has not fully

complied with its discovery obligations because it has not provided the

information requested by the Defendant in the motion for Brady and

impeaching evidence. For the reasons previously stated in this Order, this

argument is without merit. These materials have already been made

available to the Defendant pursuant to the Court’s Standard Criminal

Discovery Order [Doc. 22] and the Government’s Open File Policy.

     Defendant Varnado further contends that, in any event, the defense

has not yet made decisions as to which, if any, witnesses may be called or

which documents may be used at trial. Until recently, however, this matter

was set for trial on October 29, 2007. At this late date, the Defendant

cannot be heard to say that no decisions have been made with respect to

which witnesses and documents will be introduced at trial.




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      For these reasons, the Court concludes that the Defendant is

obligated to provide reciprocal discovery to the Government in accordance

with the provisions of Rule 16(b). Accordingly, the Government’s request

for reciprocal discovery [Doc. 75] is GRANTED.

B.    Defense Witness Statements

      The Government also seeks an Order directing the Defendants to

produce any statements of defense witnesses in the Defendants’

possession which relate to the subject matter of the witnesses’ testimony,

including the statements of witnesses contained in memoranda or reports

prepared by any defense investigators.

      The Government’s request for disclosure of defense witness

statements is premature. Rule 26.2 of the Federal Rules of Criminal

Procedure provides that such statement must be produced only “[a]fter a

witness . . . has testified on direct examination.” Fed. R. Crim. P. 26.2(a).

The Supreme Court has specifically recognized that Rule 26.2 does not

authorize the pretrial discovery of an investigator’s report. See United

States v. Nobles, 422 U.S. 225, 235 n.8 (1975). Indeed, Rule 16

specifically exempts such reports from pretrial disclosure. See Fed. R.




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Crim. P. 16(b)(2). For these reasons, the Government’s request for pretrial

disclosure of defense witness statements [Doc. 75] is DENIED.



                                ORDER

     For the foregoing reasons, IT IS, THEREFORE, ORDERED that the

Defendant’s Motion for Pre-Trial Production of Brady and Impeachment

Evidence Related to Government Witnesses “Prince Yellowe” and Linda

Morgan [Doc. 44] is DENIED.

     IT IS FURTHER ORDERED that the Defendant’s Motion in Limine to

Preclude Propensity Evidence and Co-Conspirator Statements That Were

Not In Furtherance of the Charged Conspiracy [Doc. 49] is DENIED

WITHOUT PREJUDICE.

     IT IS FURTHER ORDERED that the Government’s Motion to Permit

the Use of Leading Questions During Direct Examination of Witnesses

Identified With Defendant [Doc. 62] is DENIED WITHOUT PREJUDICE.

     IT IS FURTHER ORDERED that the Government’s Motion for

Reciprocal Discovery and Production of Defense Witness Statements

[Doc. 75] is GRANTED IN PART and DENIED IN PART.




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 IT IS SO ORDERED.



                                Signed: November 16, 2007




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